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 5   Attorney for Defendant
     Eladio Montoya
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )       No. 2:06-cr-0100-MCE
                                     )
13                   Plaintiff,      )
                                     )       STIPULATION AND ORDER VACATING
14        v.                         )       DATE, CONTINUING CASE, AND
                                     )       EXCLUDING TIME
15   ELADIO MONTOYA,                 )
                                     )
16                   Defendant.      )       Date: JANUARY 9, 2007
                                     )       Time: 8:30 a.m.
17   _______________________________ )       Judge: Hon. England
18
19          IT IS HEREBY STIPULATED by and between Assistant United States
20   Attorney Camil Skipper, Counsel for Plaintiff, and Attorney Dina L.
21   Santos, Counsel for Defendant Eladio Montoya, that the status
22   conference scheduled for January 2, 2007, be vacated and the matter be
23   continued to this Court's criminal calendar on January 9, 2007, at 8:30
24   a.m.
25          This continuance is requested by the defense in light of January
26   2, 2007 being declared a national day of mourning and to permit further
27   client consultation concerning available courses of action and
28   negotiations with the prosecution, The defense anticipates that a
           Case 2:06-cr-00100-MCE Document 40 Filed 01/04/07 Page 2 of 2


 1   motion to dismiss will be made by the prosecution on January 9, 2007.
 2        IT IS FURTHER STIPULATED that time for trial under the Speedy
 3   Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
 4   3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
 5   ends of justice served in granting the continuance and allowing the
 6   defendant further time to prepare outweigh the best interests of the
 7   public and the defendant in a speedy trial.
 8        The Court is advised that all counsel have conferred about this
 9   request, that they have agreed to the August 15, 2006 date, and that
10   Ms. Skipper has authorized Ms. Santos to sign this stipulation on her
11   behalf.
12        IT IS SO STIPULATED.
13
14   Dated: December 29, 2006                /S/ Dina L. Santos
                                            DINA L. SANTOS
15                                          Attorney for
                                            Eladio Montoya
16
17   Dated: December 29, 2006                /S/ Camil Skipper
                                            CAMIL SKIPPER
18                                          Assistant United States Attorney
                                            Attorney for Plaintiff
19
20
21                                     O R D E R
22        IT IS SO ORDERED.
23   DATED: January 3, 2007
24
25
                                          _____________________________
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                                          MORRISON C. ENGLAND, JR
27                                        UNITED STATES DISTRICT JUDGE

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